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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   AMAZON.COM, INC and AMAZON                         )
   DATA SERVICES, INC.,                               )           Case No. 1:20cv484
                                                      )
                Plaintiffs,                           )        Hon. Rossie D. Alston, Jr.
                                                      )        Hon. Theresa Buchanan
   v.                                                 )
                                                      )
   WDC HOLDINGS LLC d/b/a                             )
   NORTHSTAR COMMERCIAL                               )
   PARTNERS, et al.,                                  )
                                                      )
                Defendants,
                                                      )       NOTICE OF HEARING ON
   ____________________________________               )   DEFENDANT CARLETON NELSON’S
                                                      )   OBJECTION TO THE MARCH 11, 2022
   800 HOYT LLC,                                      )       ORDER PRECLUDING THE
                                                      )    DEPOSITION OF PETER DESANTIS
                Intervening Interpleader Plaintiff,   )              (DOC. 577)
                                                      )
   v.                                                 )
                                                      )
   BRIAN WATSON, WDC HOLDING                          )
   LLC, PLW CAPITAL I,                                )
   LLC.AMAZON.COM, INC, and                           )
   AMAZON DATA SERVICES, INC.                         )
                                                      )
                Interpleader Defendants.              )
                                                      )


            PLEASE TAKE NOTICE that on May 4, 2022, at 10:00 a.m., or as soon thereafter as the

  matter may be heard, counsel for Defendant Carleton Nelson will present argument before this

  Court on his Objection to the portion of the March 11, 2022 Order precluding the deposition of

  Peter DeSantis.




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            April 6, 2022      BURR & FORMAN LLP

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                                    CERTIFICATE OF SERVICE

            I hereby certify that on April 6, 2022, a true and correct copy of the foregoing has been

  served upon the following via email:

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            Dated: April 6, 2022                          /s/ Rachel Friedman
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